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FILED

IN THE UNITED STATES DISTRICT COURT

 
 
 
  

 
 

FOR THE WESTERN DISTRICT OF TEXAS MAR 24 2029
WACO DIVISION CLERK, U.S. DIgTRicEZoux
WESTERN DISTRICTAE 26%,
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STANDING ORDER REGARDING SCHEDULED HEARINGS IN CIVIL CASES
IN LIGHT OF CHIEF JUDGE GARCIA’S MARCH 24 AMENDED ORDER

In light of Chief Judge Garcia’s Amended Order dated March 24, the Court enters the
following order:

e All hearings for civil cases on the Waco division’s docket will continue as
scheduled, but will occur telephonically. The Court will provide the dial-in
information! either via e-mail or within an order, Because there may be several
hearings back-to-back, attorneys should wait until their case is called before
speaking. Parties are encouraged to dial-in at least 10 minutes before the
scheduled start time.

e For non-Markman hearings, to the extent a party wishes to use PowerPoint
slides, the party must email them to the Court at least 24 hours before the hearing.
If both parties wish to use PowerPoint slides, the parties must email them to the
Court at an agreed time at least 24 hours before the hearing. Ifa party fails to
email slides to the Court at least 24 hours before the hearing, the Court will deem
that that party has waived its ability to use slides during the hearing.

e For Markman hearings, parties must email any slides they wish to use within 6

hours of receiving preliminary constructions from the Court.

 

' The parties are directed to provide a back-up conference call number in case there are technical issues with the
Court’s conference call number.
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SIGNED this 24th day of March, 2020.

 

 

ALAN D ALBRIGHT
UNITED STATES DISTRICT JUD.
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FILED

IN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DISTRICT OF TEXAS MAR 2 4 2020
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AMENDED ORDER REGARDING
COURT OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES
CREATED BY THE COVID-19 PANDEMIC

For reasons stated in previous court orders dated March 13, 2020 and March 16, 2020,

the Court enters the following Order:

l.

The Courts of the Western District of Texas shall be closed with the following
exceptions herein described.

All settings in any civil or criminal matter currently scheduled before May 1,
2020, are cancelled, pending further order of the court, with the exception of
pleas, sentencings, criminal matters before Magistrate Judges, such as initial
appearances, arraignments, detention hearings, and the issuance of search
warrants or other warrants, The Magistrate Judge shall continue utilizing such
procedures as the Magistrate Judge or Presiding District Judge may direct which
are consistent with this Order and applicable law, including the use of video
technology. All Central Violations Bureau proceedings scheduled between March
23, 2020 and May 1, 2020 are continued pending further Order of the Court.

All deadlines in a scheduling order, other than a trial date, shall remain in effect
unless modified by the assigned Judge.

All judicial officers shall be mindful to limit and minimize the number of people

in the courthouse, including courtrooms.
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This Order does not apply to Bankruptcy Courts in the Western District of Texas.

Additionally, IT IS HEREBY ORDERED that the United States Marshal Service shall
direct the Court Security Officers to conduct medical screening questions as prescribed by the
Centers for Disease Control. Persons who appear to have flu-like symptoms shall not be
permitted in the courthouse.

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SIGNED this day of March, 2020.

 

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ORLANDO L. GARCIA

Chief United States District Judge
